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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------X
 RAFAEL PRESINAL, individually and on                      Case No.1:22-cv-02246 (KPF)
 behalf of others similarly situated,

                                    Plaintiff,

                  -against-                                STIPULATION TO ACCEPT SERVICE
                                                           OF COMPLAINT AND EXTEND TIME
 2690 GROCERY CORP. (D/B/A FIRE                            TO RESPOND
 HOUSE DELI), JUAN CARLOS REYES, and
 LIOMARD MESA,

                                     Defendants.
 ------------------------------------------------------X


        IT IS HEREBY STIPULATED AND AGREED by and among the parties hereto, through
their undersigned counsel, that the Law Offices of Martin E. Restituyo, P.C. accepts service of
the summons and complaint in this action and waives any defects of service on behalf of
defendants 2690 Grocery Corp. (d/b/a Fire House Deli), Juan Carlos Reyes, and Liomard Mesa.

        IT IS FURTHER STIPULATED AND AGREED that defendants 2690 Grocery Corp.
(d/b/a Fire House Deli), Juan Carlos Reyes, and Liomard Mesa shall have until May 13, 2022, to
answer or otherwise move with respect to the amended complaint.

Dated: April 15, 2022




 _____/s/Jarret Bodo_______________                        ___________________________________
  Catalina Sojo, Esq.                                      Martin E. Restituyo, Esq.
 Jarret Bodo, Esq.                                         Law Offices of Martin E. Restituyo, P.C.
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                                                           Attorney for Defendants
 Attorney for Plaintiff
